     Case 3:19-cr-00019-MHL Document 86 Filed 01/27/20 Page 1 of 2 PageID# 639




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )       Case No. 3:19cr19
                                              )
TROY GEORGE SKINNER,                          )
         Defendant                            )


     NOTICE OF JOINT STATUS UPDATE REGARDING EVIDENTIARY HEARING

         Pursuant to the Court’s December 2, 2019, Order, see ECF No. 68, Mr. Skinner notifies

the Court that the only motion that he has filed that will need evidence presented is the portion of

his suppression motion that relates to the reasonableness of the government’s seizure of his cell

phone in the United States. See ECF No. 70 at 9-10. That evidence would not require the potential

presence of foreign witnesses or evidence. The remainder of the motions can be argued on the

submissions of the parties. Undersigned counsel has spoken with Brian Hood representing the

government in this case regarding this update. Mr. Hood concurs with this update.

                                                      Respectfully submitted,
                                                      TROY GEORGE SKINNER

                                              By:     ___________/s/____________
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 Case 3:19-cr-00019-MHL Document 86 Filed 01/27/20 Page 2 of 2 PageID# 640




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                                CERTIFICATE OF SERVICE


        I hereby certify that on January 27, 2020, I filed the foregoing with the Clerk of Court
using the CM/ECF system, which will send a notification of such filing (NEF) to all counsel of
record.

                                                    ___________/s/____________
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